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12                          UNITED STATES DISTRICT COURT

13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

14
     UNITED STATES OF AMERICA,               No. SA CR 21-124-JLS
15
               Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
16
                     v.                      Hearing Date:     July 19, 2024
17                                                             9:30 a.m.
     CHRISTOPHER JOHN BADSEY,
18
               Defendant.
19

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21        Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorneys Kristin Spencer and
24   Melissa Rabbani, hereby submits its position regarding sentencing.
25        The government’s position is based upon the attached memorandum
26   of points and authorities, the files and records in this case, the
27   revised Presentence Report (“PSR”) and revised disclosed
28   recommendation letter filed on February 26, 2024, and any other
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 1   evidence or argument that the Court may wish to consider at the time

 2   of sentencing.

 3

 4   Dated:   July 5, 2024                Respectfully submitted,

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.      INTRODUCTION

 3           In the height of the COVID-19 pandemic, defendant Christopher

 4   John Badsey (“defendant”) falsely promised to sell millions of boxes

 5   of nitrile gloves – critical personal protective equipment that was

 6   in short supply worldwide – to buyers in the medical industry.

 7   Through his company, defendant accepted over $3 million in deposits

 8   for those gloves from potential purchasers.         But by his own

 9   admission, defendant never had possession of or access to any such

10   gloves, never delivered any such gloves, and never returned the

11   deposits he received.     Instead, defendant and others used the deposit

12   money to make expensive purchases, all while stringing would-be

13   purchasers along with false stories, including absurd claims that

14   government agents were blocking access to his warehouse of gloves.

15           Based on that conduct, in April 2023, defendant pled guilty to

16   four counts of wire fraud in violation of Title 18, United States

17   Code, Section 1343.     Dkts. 57, 61.

18           Earlier this year, defendant submitted a sentencing memorandum

19   attaching several “letters of support” and a purported medical record

20   that were determined to be forged.

21           Following that revelation, the United States Probation Office

22   (“USPO”) filed a revised Presentence Report (“PSR”) on February 26,

23   2024.    Dkt. 84.   The USPO determined that the total applicable

24   offense level in this case is 25 and that defendant’s criminal

25   history is in category II, resulting in a guidelines range of 63 to

26   78 months.    Id. at 4.   The USPO recommends that the Court impose a

27   high-end sentence of 78 months’ custody, followed by a three-year

28   period of supervised release, and order a special assessment of $400.
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 1   Dkt. 83.   The USPO further recommends that defendant be ordered to

 2   pay restitution of $1,938,990 to three victims, as defendant agreed

 3   to do in the plea agreement.      Dkt. 83; see also Dkt. 57 at 8.

 4         The government agrees with the USPO’s calculations and its

 5   recommended order of restitution.        The government respectfully

 6   recommends a slightly lower, mid-range sentence of 72 months’

 7   custody, followed by a three-year term of supervised release, and

 8   believes this sentence is sufficient, but not greater than necessary,

 9   to achieve the goals of sentencing set forth in 18 U.S.C. § 3553(a).

10   II.   SUMMARY OF RELEVANT FACTS

11         The facts below relating to the offense conduct in this case are

12   taken from the plea agreement defendant signed on April 7, 2023.

13         In June and July 2020, in Orange and Los Angeles Counties,

14   defendant knowingly devised, participated in, and executed a scheme

15   to defraud Victim Companies 1, 2, and 3 by means of material false

16   and fraudulent pretenses, representations, and promises, and the

17   concealment of material facts.

18         In particular, defendant falsely represented to Victim Companies

19   1, 2, and 3 that he had access to millions of boxes of medical-grade

20   nitrile gloves, personal protective equipment that was in high demand

21   and short supply during the COVID-19 pandemic.         Through the company

22   that he owned and controlled, First Defense International Security

23   Services Corporation (“FDI”), defendant entered into contractual

24   agreements with Victim Companies 1, 2, and 3 to sell each company

25   millions of boxes of gloves.      Defendant then told representatives

26   from Victim Companies 1, 2, and 3 that before they could inspect the

27   gloves, which were stored in a warehouse in Los Angeles, the

28   companies would be required to pay deposits upwards of $1 million to

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 1   FDI.       In fact, defendant did not have any gloves stored in any

 2   warehouse.      Defendant knew that his statements were false and acted

 3   with the intent to defraud Victim Companies 1, 2, and 3.

 4          To execute his scheme, defendant instructed representatives of

 5   Victim Companies 1, 2, and 3 to transmit the deposits by wire

 6   transfer to bank accounts controlled by defendant himself, a co-

 7   schemer, and/or FDI.       Relying on defendant’s false representations

 8   that he had millions of boxes of nitrile gloves to sell,

 9   representatives from Victim Companies 1, 2, and 3 made the requested

10   wire transfers.       In particular, defendant caused the transmission of

11   the following items by means of wire communication in interstate and

12   foreign commerce:

13                  a.    On June 15, 2020, a deposit of $1,174,990 from Victim

14                        Company 1 to defendant’s bank account;

15                  b.    On June 17, 2020, a partial deposit of $787,000 from

16                        Victim Company 2 to defendant’s bank account;

17                  c.    On June 17, 2020, a partial deposit of $270,000 from

18                        Victim Company 2 to defendant’s bank account; and

19                  d.    On July 2, 2020, a deposit of $1,000,000 from Victim

20                        Company 3 to defendant’s co-schemer’s bank account.

21          As part of his plea agreement, defendant agreed that he would be

22   required to pay full restitution to the victims of his offenses.              See

23   Dkt 57 at 8.        Defendant also agreed to forfeit certain assets, at

24   least some of which were purchased with the proceeds from his

25   fraudulent scheme.1

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            Those assets have been administratively forfeited to the
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28   Federal Bureau of Investigation. As such, no order of forfeiture is
     needed from this Court.
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 1          Defendant was set to be sentenced in February 2024.         On January

 2   26, 2024, defendant submitted a sentencing position attaching a

 3   number of exhibits, including several “letters of support” from

 4   purported friends and acquaintances and a purported medical record

 5   documenting a brain cancer diagnosis from 2017.          See Dkt. 72 at 3;

 6   Dkt. 72-1 at 10, 12-28.     The USPO and the government contacted

 7   several of the purported authors of those character letters and

 8   learned not only that those letters had been forged, but that

 9   following his initial appearance in 2021, defendant forged the

10   signature of his proposed surety and used a copy of the proposed

11   surety’s driver’s license without his authorization.          See Dkt. 85 at

12   2-4.   Defendant has provided no additional documentation supporting
13   the purported medical record – which appears suspect on its face.
14   See id.
15          In response to a motion by the government, this Court found that
16   defendant had breached his plea agreement by submitting those forged
17   documents and that the government was thus released from its
18   obligations under the plea agreement.        See Dkt. 86.    As a result, the
19   government is no longer bound by the terms of the plea agreement –

20   which required, among other things, that the government recommend a

21   low-end sentence under the Guidelines.        See Dkt. 57 at 6-7.

22   III. PRESENTENCE REPORT

23          The USPO determined the base offense level to be 7.         Dkt. 84 at

24   14.    The USPO then applied a 16-level increase because of the loss

25   amount resulting from defendant’s fraudulent scheme, as well as a

26   two-level increase for defendant’s obstruction of justice in

27   submitting forged documents to the USPO and to the Court.           Id. at 14-

28   16.    Notably, the USPO declined to apply any decrease for acceptance

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 1   of responsibility, given that defendant has failed to withdraw from

 2   criminal conduct and has engaged in conduct constituting obstruction

 3   of justice.   Id. at 16-17.     Thus, the USPO calculated the total

 4   offense level in this case as 25.        Id. at 17.

 5          The USPO also determined that defendant’s total criminal history

 6   score for this offense is two, resulting in a criminal history

 7   category of II and a guidelines range of 63 to 78 months.           Dkt. 84 at

 8   19-21, 30.

 9          The USPO recommends that the Court impose a high-end sentence of

10   78 months’ custody, followed by a three-year period of supervised

11   release.   Dkt. 53.   The USPO also recommends that defendant be

12   ordered to pay a total of $1,938,990 in restitution to three victims:

13   Terry Booth ($668,990), Christiaan van der Velde ($270,000), and John

14   Anthony Bijan Faranghui ($1,000,000).        Id. at 1.    Finally, the USPO

15   recommends that all fines be waived, as defendant has no ability to
16   pay.   Id. at 2.
17   IV.    THE GOVERNMENT’S POSITION
18          The government concurs with the USPO’s calculations and its
19   recommended order of restitution.        However, the government recommends

20   a slightly lower, mid-range sentence of 72 months’ custody.            The

21   government believes this sentence is sufficient, but not greater than

22   necessary, to achieve the goals of sentencing set forth in 18 U.S.C.

23   § 3553(a).

24          Defendant took advantage of a global pandemic.        While tens of

25   thousands of Americans died of COVID, and millions of Americans

26   upended their daily lives to mitigate its spread, defendant saw only

27   an opportunity to line his own pockets.        Through repeated and often

28   fantastical lies, defendant obtained over $3 million in deposit money

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 1   for products he never had.      When confronted, defendant continued to

 2   lie and refused to refund any deposit money.         Moreover, defendant’s

 3   personal history, as discussed in the PSR, reveals a troubling

 4   history of deceit and theft – and an aversion to honest work.

 5        In addition, nothing about this criminal prosecution seems to

 6   have deterred defendant’s worst instincts.         After his arrest,

 7   defendant submitted forged documentation to keep himself out of

 8   custody.   And as his sentencing approached, defendant forged a number

 9   of character letters in the hopes of reducing his own sentence.

10        Based on those facts, the government believes that a sentence of

11   72 months’ custody is appropriate and necessary to, among other

12   things, punish defendant and deter him from attempting similar

13   schemes in the future.

14        In addition, as defendant himself has agreed, he should be

15   ordered to pay restitution to the victims of his crimes.           The

16   government agrees with the USPO’s recommendation that defendant be

17   ordered to pay restitution as set forth in the USPO’s disclosed

18   recommendation letter.     See Dkt. 83.     The government further agrees

19   that defendant has demonstrated an inability to pay any fine, and the

20   government agrees with the USPO’s recommendation that all fines be

21   waived.    See id.

22   V.   CONCLUSION

23        As set forth above, the government respectfully recommends that

24   the Court (i) impose a sentence of 72 months’ custody, to be followed

25   by a three-year period of supervised release; (ii) order a mandatory

26   special assessment of $400; and (iii) order defendant to pay

27   restitution as set forth in the PSR and the USPO’s disclosed

28   recommendation letter.     The government submits that this sentence is

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 1   sufficient, but not greater than necessary, to punish defendant,

 2   promote respect for the law, deter defendant from committing similar

 3   crimes in the future, and avoid sentencing disparities.           See

 4   generally 18 U.S.C. § 3553(a).

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